                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

JOHN VIGIL,

      Plaintiff,

v.                                            Case No. 1:18-CV-00829-SCY-JFR

FRANCES TWEED, et al.,

      Defendants.


                   MOTION FOR JUDGMENT ON THE PLEADINGS
                           BY STATE DEFENDANTS

      Defendants Frances Tweed, Antonio Coca, Joe Chavez, Corrine Dominguez

and the New Mexico Behavioral Health Institute (“State Defendants”), move for a

judgment on the pleadings. The applicable statutes of limitation bar the new

allegations in Plaintiff’s Second Amended Complaint [Doc 38, filed 9-22-19]. Vigil’s

complaint also fails to state a claim upon which relief can be granted pursuant to

Fed.R.Civ.P. 12(b)(6). The individual defendants are entitled to qualified immunity.

1. Introduction

      Plaintiff John Vigil is an employee with the New Mexico Behavioral Health

Institute (NMBHI), the state-run psychiatric hospital in Las Vegas, New Mexico.

Vigil’s Second Amended Complaint asserts Fourth Amendment claims under 42

U.S.C. Section 1983 against 4 employee defendants for unlawful search and

malicious prosecution. He also avers a Section 1983 claim for First Amendment

retaliation. There appear to be two claims for alleged Fourth Amendment violations
of the New Mexico Constitution. There is a state law respondeat superior claim

against NMBHI.

       This Court previously dismissed plaintiff’s First Amended Complaint, holding

that the State defendants were entitled to qualified immunity on Plaintiff’s claim of

an unreasonable office search.1 [Doc 30] The Court will recall that Vigil claimed

that searches of a desk and locker that he used at NMBHI workplace were

unreasonable because the State defendants relied on two anonymous notes to

conduct the searches. [See id. at 1] Vigil also pled a malicious prosecution claim

against the state defendants; however, he later agreed that he could not maintain

the claim against these defendants, and the Court dismissed this count. [Doc 23 at

10; see also Doc 30 at 5]. The Court further determined that the state defendants

were entitled to qualified immunity on Vigil’s First Amendment claim. [Doc 30 at

21] The Court also held that the plaintiff’s First Amended Complaint failed to state

cognizable state law claims. [Id. at 28]

       In response to the Court’s order of dismissal, Vigil has completely changed

the alleged conduct underlying the claims. He now contends that all the defendants,

including County law enforcement officers, conspired to plant a single pill of

Clonazepam in a desk he used at work. [Doc 38 at ¶102] He no longer claims that

notes were “anonymous” but instead alleges that all the defendants engaged in a

conspiracy to “fabricate” the notes. [Id.] Vigil’s complaint focuses on the Clonazepam



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  The Court granted Vigil leave to file a second amended complaint. [Doc 37] The Court’s order
acknowledged that the Defendants could renew their futility and dismissal arguments in a later
motion. [Doc 37 at 7]


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and the notes, implying that those were the sole basis of the criminal charges. (See

id.)

       Vigil was not, however, merely charged with possession of a single tablet of

Clonazepam. The District Attorney also charged him with possession of other drugs,

including Risperadone, an expired patient medication that he stored in his desk and

lockers in violation of NMBHI policy. There was also a charge for Hydrocodone, a

Schedule II controlled substance found in non-prescription bottles. [Criminal

Information, Exh. 1 at 27-28; Amended Criminal Information, Exh. 2 at 21-22; see

also Affidavit for Arrest Warrant, Exh. 3 at 2 (describing numerous Hydrocodone

tablets stored in a Centrum vitamin bottle)]. Vigil initially gave equivocal and

inconsistent statements about the Hydrocodone (see excerpts from Plaintiff’s Initial

Disclosures, Exh. 4, at 202) but ultimately maintained that he had expired

prescriptions2 from 2007 through 2011, i.e., 4 to 8 years old, for the Hydrocodone.

(Exh. 4 at 153, 175-176) The District Court bound Vigil over for trial. [Exh. 5]

       As explained below, the allegations in Vigil’s Second Amended Complaint do

not credibly dispute probable cause based on the charges for possession of the

Hydrocodone and Risperadone. To be sure, there were credibility issues at trial over

Vigil’s explanations, such as whether the Hydrocodone from the search actually

originated from those old prescriptions. (See Exh. 4 at 158-160). Yet, Vigil’s defenses

in the criminal trial do not vitiate the existence of probable cause underlying the




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 Hydrocodone was a Schedule II controlled substance when Vigil originally obtained the prescriptions,
and pursuant to NMSA 1978, § 30-31-18, such prescriptions expire within 6 months.


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arrest. Moreover, the Second Amended Complaint does not allege that any of the

state defendants were aware of the old prescriptions when the searches occurred.

       Filings from a disciplinary action by NMBHI also indicate that Vigil was

improperly storing expired patient medication in his desk, failing to complete

medication incident reports to account for that medication and inappropriately

holding patient clothing allowance funds in his desk. (SPO Recommended Decision,

at 92-94, Exh. 6) This conduct, which his Second Amended Complaint does not

dispute, was the basis for a thirty-day suspension. (Id.)

       The Court should dismiss the Fourth Amendment claims against the state

defendants in Counts I and III of the Second Amended Complaint for multiple

reasons. First, the new factual allegations related to the Fourth Amendment claims

about a broad conspiracy to plant a pill and fabricate notes are not timely; the

applicable statutes of limitation bar any claims based on this new factual scenario.

Second, Vigil’s conclusory allegations are entirely speculative and implausible,

lacking the requisite factual sufficiency to state a claim pursuant to Rule 12(b)(6).

The four individual defendants are also entitled to qualified immunity because

Vigil’s allegations do not establish Fourth Amendment violations against the state

defendants under clearly established law.

       Further, Vigil’s attempt to plead claims for violation of the New Mexico State

Constitution, Counts II and IV, is futile because such claims are not recognized as a

matter of law. Nor is there any basis for a respondeat superior claim, Count VI,

against the NMBHI under the New Mexico Tort Claims Act.




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       Finally, the limited revisions in Vigil’s First Amendment claim, Count V, do

not overcome the deficiencies the Court previously identified in its order of

dismissal. [Doc 30 at 21]) Defendants are entitled to qualified immunity on this

claim as well.

2. The Law on Motions for Judgment on the Pleadings

       Under Rules 12(c) and (h)(2)(B), a court may dismiss a complaint (or claim)

for “failure to state a claim upon which relief may be granted,” the reason for

dismissal under Rule 12(b)(6). The same standard for deciding a Rule 12(b)(6)

motion to dismiss applies to deciding a 12(c) motion for judgment on the pleadings

for failure to state a claim. Brown v. Montoya, 662 F.3d 1152, 1160 n.4 (10th Cir.

2011); see also Cummings v. Dean, 913 F.3d 1227, 1238 (10th Cir. 2019) (“A motion

for judgment on the pleadings under Rule 12(c) is treated as a motion to dismiss

under Rule 12(b)(6).” (internal quotation marks and citation omitted)), cert. denied

sub nom. Cummings v. Bussey, No. 18-1357, 2019 WL 4921308 (U.S. Oct. 7, 2019).

“[T]he sufficiency of a complaint is a question of law[.]” Moore v. Guthrie, 438 F.3d

1036, 1039 (10th Cir. 2006).

       The analysis regarding the sufficiency of the complaint is governed by the

standards set forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft

v. Iqbal, 556 U.S. 662 (2009). To withstand a motion asserting failure to state a

claim, a “complaint must have enough allegations of fact, taken as true, ‘to state a

claim to relief that is plausible on its face.’” Kansas Penn Gaming, LLC v. Collins,

656 F.3d 1210, 1214 (10th Cir. 2011) (quoting Twombly, 550 U.S. at 570).




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Importantly, the Court only accepts well-pleaded facts as true when deciding the

Motion—not legal conclusions. See Kan. Penn Gaming, 656 F.3d at 1214 (“‘[T]he

tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions.’” (quoting Iqbal, 556 U.S. at 678)).

       The Complaint must include sufficient facts regarding each essential

element of a claim. The pleading standard “demands more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 677. “‘Threadbare

recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id. at 678; Twombly, 550 U.S. at 555 (“[C]ourts are not

bound to accept as true a legal conclusion couched as a factual allegation.”

(internal quotation marks and citation omitted)); Saavedra v. Lowe’s Home

Centers, Inc., 748 F. Supp. 2d 1273, 1281 (D.N.M. 2010) (“A complaint does not

‘suffice if it tenders naked assertions devoid of further factual enhancement.’”

(quoting Iqbal, 129 S. Ct. at 1949)). A plaintiff must allege facts to support its legal

conclusions. Bixler v. Foster, 596 F.3d 751, 756 (10th Cir. 2010). In evaluating the

sufficiency of Plaintiff’s Complaint, the Court must “disregard conclusory

statements and look only to whether the remaining, factual allegations plausibly

suggest the defendant is liable.” Mocek v. City of Albuquerque, 813 F.3d 912, 921

(10th Cir. 2015); Kan. Penn Gaming, 656 F.3d at 1214.

       The facts pleaded must show that the claimant is entitled to relief. “[W]here

the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged—but it has not shown—that




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the pleader is entitled to relief”, as required. Iqbal, 556 U.S. at 679 (quotations and

alterations omitted) (citing Fed.R.Civ.P. Rule 8(a)(2) (requiring the plaintiff to

show entitlement to relief)). The degree of specificity of such factual allegations

required to satisfy the plausibility requirement is context-specific (i.e., in relation

to the claim). Kan. Penn Gaming, 656 F.3d at 1215.

3. Law on Qualified Immunity

       To overcome the defense of qualified immunity, “a plaintiff must properly

allege a deprivation of a constitutional right and must further show that the

constitutional right was clearly established at the time of the violation.” Kaufman

v. Higgs, 697 F.3d 1297, 1300 (10th Cir. 2012). “Whether an official protected by

qualified immunity may be held personally liable for an allegedly unlawful action

generally turns on the ‘objective legal reasonableness’ of the action, assessed in

light of the legal rules that were ‘clearly established’ at the time it was taken.”

Anderson v. Creighton, 483 U.S. 635, 639 (1987) (quoting Harlow v. Fitzgerald, 457

U.S. 800, 818-19 (1982)).

       Qualified immunity recognizes the "need to protect officials who are

required to exercise their discretion and the related public interest in encouraging

the vigorous exercise of official authority." Harlow v. Fitzgerald, 457 U.S. 800, 807,

102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982). Qualified immunity shields government

officials from liability where "their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known."

Pearson v. Callahan, 555 U.S. at 231 (quoting Harlow, 457 U.S. at 818). Qualified




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immunity also shields officers who have "reasonable, but mistaken beliefs," and

operates to protect officers from the sometimes "hazy border[s]" of the law. Saucier

v. Katz, 533 U.S. 194, 205, 121 S. Ct. 2151, 150 L. Ed. 2d 272 (2001). When a

defendant asserts qualified immunity at summary judgment, the responsibility

shifts to the plaintiff to meet a "heavy two-part burden." Medina v. Cram, 252 F.3d

1124, 1128 (10th Cir. 2001). The plaintiff must demonstrate on the facts alleged: (i)

that the defendant's actions violated his or her constitutional or statutory rights;

and (ii) that the right was clearly established at the time of the alleged unlawful

activity. See Riggins v. Goodman, 572 F.3d 1101, 1107 (10th Cir. 2009). The

plaintiff must make this demonstration "on the facts alleged." Id.

       In Pearson v. Callahan, 555 U.S. 223 (2009), the Supreme Court held that

lower courts "should be permitted to exercise their sound discretion in deciding

which of the two prongs of the qualified immunity analysis should be addressed

first in light of the circumstances of the particular case at hand." 555 U.S. at 236.

In rejecting a mandatory approach, the Supreme Court recognized that "[t]here are

cases in which it is plain that a constitutional right is not clearly established but

far from obvious whether in fact there is such a right," and that such an approach

burdens district court and courts of appeals with "what may seem to be an

essentially academic exercise." Id. at 237.

       The clearly established prong of the qualified immunity test is a very high

burden for the plaintiff: "A Government official's conduct violates clearly

established law when, at the time of the challenged conduct, the contours of a right




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are sufficiently clear that every reasonable official would have understood that

what he is doing violates that right." Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2083, 179

L.Ed. 2d 1149 (2011). A clearly established right is generally defined as a right so

thoroughly developed and consistently recognized under the law of the jurisdiction

as to be "indisputable" and "unquestioned." Zweibon v. Mitchell, 720 F.2d 162, 172-

73, 231 U.S. App. D.C. 398 (D.C. Cir. 1983). "Ordinarily, in order for the law to be

clearly established, there must be a Supreme Court or Tenth Circuit decision on

point, or the clearly established weight of authority from other courts must have

found the law to be as the plaintiff maintains." Currier v. Doran, 242 F.3d 905, 923

(10th Cir. 2001).

4. Vigil’s New Factual Allegations Are Untimely

       The relevant statute of limitation in New Mexico for Section 1983 claims is

three years. Garcia v. Wilson, 731 F.3d 640,6512 (10th Cir. 1984) aff’d 471 U.S. 261,

280. Any claims under the New Mexico Tort Claims Act (“NMTCA”) are subject to a

two-year statute of limitation. NMSA 1978, § 37-1-23.

       In the present case, the first workplace search allegedly occurred over four

years ago on May 29, 2015. Accepting plaintiff’s allegations at face value, the newly-

alleged conduct of planting evidence and fabricating the notes had to have preceded

the searches. Vigil filed his motion to amend [Doc. 31] seeking to allege these new

facts on July 8, 2019, over a year after the statute of limitation for Section 1983

claims expired and over two years after the statute on the NMTCA claim ran.




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       Vigil may not rely upon the relation-back doctrine to save any claim based on

this newly alleged conduct. An amended complaint relates back when the proffered

amendment asserts a claim that arose out of "the conduct, transaction, or

occurrence set out—or attempted to be set out—in the original pleading." Fed. R.

Civ. P. 15(c)(1)(B). This requirement gives a defendant fair notice to anticipate

litigation involving a specific factual situation. Price v. McKee, No. 12-1432-CM,

2013 U.S. Dist. LEXIS 94562, 2013 WL 3388905, at *4 (D. Kan. July 8, 2013)

(quoting Reed v. Entercom Commc'ns Corp., No. 04-2603-CM, 2006 U.S. Dist.

LEXIS 26436, 2006 WL 1174023, at *1 (D. Kan. Apr. 28, 2006)). Even when a new

pleading shares similar elements to the original claim, it "cannot relate back if the

effect of the new pleading is to fault the defendants for conduct different from that

identified in the original complaint." Full Life Hospice, LLC v. Sebelius, 709 F.3d

1012, 1018 (10th Cir. 2013). An amendment does not relate back "when it asserts a

new ground for relief supported by facts that differ in both time and type from those

the original pleading set forth." Mayle v. Felix, 545 U.S. 644, 650, 125 S. Ct. 2562,

162 L. Ed. 2d 582 (2005).

       Here, Plaintiff’s original complaint alleged that the defendants lacked

probable cause to conduct an office search based on the receipt of two anonymous

notes. [See Doc 23 at 5-9] The complaint gave no notice that anyone previously

“planted” a tablet of Clonazepam as Vigil now alleges. The complaint also gave no

notice that the defendants had fabricated notes. To the contrary, the complaint and

subsequent briefing argued that the notes were unreliable because the author was




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unknown. [See Doc 23 at 9] The original complaint did not give the state defendants

notice of allegations of a broad conspiracy among them and law enforcement to

plant evidence and create allegedly fictitious writings as a pretext to then launch a

criminal investigation.

       To overcome the grant of qualified immunity, plaintiff has simply resorted to

alleging entirely new events, claiming that at some point before the search,

defendants engaged in a broad conspiracy to plant and fabricate incriminating

evidence. This newly alleged conduct is different in type, time and scope from the

original allegations. The plaintiff cannot rely on the relation back provisions of Rule

15 to pursue claims based on a different factual scenario. Accordingly, the Court

should dismiss the Second Amended Complaint as a matter of law.

5. Vigil’s Vague, Conclusory Allegations of Conspiracy Among All the Defendants
   Fail to State a Claim under Fed.R.Civ.P. 12(b)(6).

       In the context of a Section 1983 claim, general allegations of multiple

defendants’ possible role in an alleged constitutional violation do not suffice to state

a claim. Cox v. Glantz, 2011 U.S. Dist. LEXIS 116287 *22 (D. Okla. 2011). The

Tenth Circuit has rejected broad allegations against multiple defendants in Section

1983 cases, because “it is impossible for any of these individuals to know what

particular unconstitutional acts they are alleged to have committed. Robbins v.

Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008). The notice required under

Fed.R.Civ.P. 8 varies depending on the type of case; in the context of a § 1983 claim

“it is particularly important . . . that the complaint make clear exactly who is

alleged to have done what to whom . . . .” Id.



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       This is especially true with conspiracy allegations. Here, Vigil contends that

all of the defendants, including the defendant law enforcement officers, engaged in a

broad conspiracy to plant a single pill and fabricate notes to maliciously prosecute

him in a criminal action. [Doc 38 at ¶102, 129] For such conspiracy claims, a

plaintiff "must allege specific facts showing an agreement and concerted action

among the defendants." Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504, 533 (10th

Cir. 1998); see also Salehpoor v. Shahinpoor, 358 F.3d 782, 789 (10th Cir. 2004)

(requiring plaintiff to allege by direct or circumstantial evidence that defendants

had meeting of minds or agreement). "Conclusory allegations of conspiracy are

insufficient to state a valid § 1983 claim." Tonkovich, 159 F.3d at 533 (quotation

omitted); see also Steele v. Fed. Bureau of Prisons, 355 F.3d 1204, 1214 (10th Cir.

2003) (holding conclusory conspiracy allegations are not sufficient to state a

constitutional claim). Eden v. Voss, 105 Fed. Appx. 234, 246, 2004 WL 1535829, *9

(10th Cir. 2004).

       In the present case, Vigil alleges that his domestic partner, Patricia Vigil,

brought suit in 2012 against the NMBHI and that Mr. Vigil’s “support” for her in

that lawsuit is the genesis for defendants’ alleged retaliatory motive. [Doc 38 at

¶15] His “support” consists of him being present at some hearings and conferences.

[Id.] The complaint provides no details about these events, such as when they

occurred, who was present, what transpired, and so forth. [See id. at ¶12-17] The

complaint goes on to assert that defendants Tweed, Coca and Chavez “were

angered” by Vigil’s “support”, but alleges no facts about how any defendant knew




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about him attending these hearings, when they acquired that knowledge, how they

knew why he was there, why any defendant became angry or why they would decide

to retaliate against him years later. [Id.] Other than these conclusory statements,

there are no allegations of any predicate facts describing how conspiracy formed

among the three of them or how it grew to include defendant Dominguez as well as

numerous law enforcement officers.

       The complaint alleges that Vigil’s “superiors” (he doesn’t initially identify

who) “fabricated a typed letter alleging that Vigil had narcotics stored in his desk.”

[Doc 38 at ¶18] Although the term “fabricated” implies that the allegations in the

note were false, we know from the criminal and personnel proceedings that Vigil

did, in fact, have expired patient medications and funds as well as Hydrocodone

(narcotics) in his desk. Indeed, the complaint does not explicitly allege that any

statements in the first note were actually false. The complaint then alleges that

defendants “Frances Tweed, Antonio Coca and/or Joe Chavez” accessed Plaintiff’s

desk cabinet because “there was enough play in the cabinet doors” to allow a single

tablet of Clonazepam inside the cabinet. [Id. at 22]. In other words, Vigil implies

that it was “possible” to access the desk to place a tablet. In the next paragraph,

Vigil concludes that the three conducted a search knowing that the tablet of

Clonazapam “they planted” would be present. [Id. at 23].

       In describing the first search, plaintiff alleges that Defendants Frances

Tweed, Antonio Coca and/or Joe Chavez found and photographed various items

within the desk. Two days later, one of the defendants, Joe Chavez, called law




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enforcement to report a “possible narcotics larceny.” [Id. at 26] There is no

allegation that any other defendant was involved in the call.

       The complaint then alleges, in passive voice, that a second note was

“fabricated” to incriminate Vigil. [Doc 38 at 32] The complaint does not aver that

any defendant did so. The complaint contends that Tweed and other unnamed

employees conducted a search of Vigil’s lockers but does not describe what they

found. [Id. at 34] Defendant Tweed reported the second note to law enforcement

officers. [Id. at 39] They obtained a search warrant and conducted a search of the

lockers. Tweed also indicated to the law enforcement officers that the pills revealed

during the first search were narcotics. [Id. at 41]

       The plaintiff’s generic, disjunctive allegations against these individual

defendants are insufficient to set forth a Section 1983 claim against each of them.

First, Vigil’s allegations against Defendant Corrine Dominguez are virtually non-

existent. There are no factual allegations that Defendant Dominguez knew about

any “support” that Vigil offered Patricia Vigil; accordingly, there is no conceivable

predicate for any retaliatory motive or culpable mental state. Vigil does not allege

Dominguez knew anyone planted a pill or fabricated a note. The complaint alleges

merely that she authorized or consented to a search. [Doc 38 at ¶25] Thus, the

complaint falls well short of setting forth the necessary factual content to support a

Section 1983 claim against her based on supervisory liability. See e.g., Dodds v.

Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010), cert. denied, 131 S.Ct. 2150, 179

L.Ed.2d 935 (2011) (For supervisory liability under Section 1983, plaintiff must




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allege facts plausibly showing a supervisor’s personal involvement, sufficient causal

connection and culpable mental state).

       Similarly, Vigil has thrown in Defendant Antonio Coca’s name at several

places mostly in disjunctive and/or paragraphs that are entirely conclusory. There is

no specific factual allegation that Defendant Coca had any involvement with the

law enforcement. Such conclusory allegations do not state a claim.

       Although Vigil’s complaint mentions Chavez and Tweed more frequently, the

references remain conclusory and speculative. They are simply implicated along

with others in a conclusion that someone planted a pill or fabricated a note, but

plaintiff fails to flesh out the factual basis for that conclusion, nor does he provide

plausible facts of a conspiracy among multiple individuals. Such hedging allegations

are insufficient under Twombly and Iqbal. "[T]he plausibility standard ... asks for

more than a sheer possibility" of unlawful conduct . . .” Kan. Penn Gaming, LLC v.

Collins, 656 F.3d 1210, 1215 (10th Cir. 2011). The plausibility standard is not akin

to a "probability requirement," but it asks for more than a sheer possibility that a

defendant has acted unlawfully. Iqbal, 556 U.S. at 678 [citation omitted]. Where a

complaint pleads facts that are merely consistent with a defendant's liability, it

stops short of the line between possibility and plausibility of entitlement to relief.

Id.

       Significantly, the plaintiff has had opportunities since 2015 to conduct

multiple inquiries on these issues, including review of pertinent documents as well

as multiple examinations under oath of key witnesses, in both the criminal and




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personnel proceedings. Plaintiff’s inability to come forward with little more than

conclusory statements is insufficient to nudge the allegations from “conceivable to

plausible.” Khalik v. United Air Lines, 671 F.3d 1188, 1190 (10th Cir. 2012).

6.   The Defendants are Entitled to Qualified Immunity

       In evaluating the First Amended Complaint, this Court focused on the second

prong of the qualified immunity analysis and whether it was reasonable for the

defendants to rely on anonymous notes to conduct a workplace search. After

conducting a detailed analysis of applicable precedent concerning workplace

searches, the Court held that there is “no clearly established weight of authority” in

the Tenth Circuit or other circuits that provided notice that the anonymous tip in

this case failed to provide reasonable justification for the searches at issue. [Doc 30

at 19] Plaintiff’s new factual allegations in the Second Amended Complaint are a

further departure from established precedent.

       The first question is whether the Fourth Amendment even applies to the

plaintiff’s new allegations, and if so, what protected right is at issue. Vigil now

alleges that one or more civilian employees (not affiliated with law enforcement),

planted a single piece of evidence and created at least one note as a pretext to

launch a criminal investigation. Such conduct is not a workplace “search,” and there

appears to be no clearly established law suggesting that it is. Hypothetically, a

civilian making a false statement to a police officer may be actionable under some

form of civil state tort law, but that does not mean a cognizable Fourth Amendment




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violation arises against a civilian for such conduct. Vigil’s complaint fails to satisfy

the second prong of qualified immunity related to the search claim in Count I.

       Vigil’s new allegations also do not meet the first prong of qualified immunity.

There are no allegations that planting a tablet or fabricating a note occurred under

the color of law, a necessary element of a Section 1983 claim. See, e.g., Yanaki v.

Iomed, 415 F.3d 1204, 1211-1212 (10th Cir. 2005).

       In Count III, the plaintiff reasserts the malicious prosecution claim that he

previously admitted that he could not maintain against these defendants. Here

again, the law does not appear to be clearly established for the second prong of

qualified immunity. Dominguez or Coca had no contact with law enforcement

according to the complaint. There are no facts tying them in to any prosecution.

Defendant Chavez’s only contact was to advise that “a possible larceny occurred.”

[Doc 38 at ¶26] Defendant Frances Tweed allegedly contacted law enforcement to

inform them that a second search had occurred and that the first search found pills

that she identified as narcotics. [Id. at 39-41] Again, there is no allegation that the

two defendants’ conduct in contacting officers occurred under color of law.

       Further, Vigil’s complaint also fails to meet the first prong of the qualified

immunity test because his allegations do not vitiate probable cause. Lack of

probable cause is an essential element of malicious prosecution. See Wolford v.

Lasater, 78 F.3d 484, 489 (10th Cir. 1996). Probable cause for an arrest warrant is

established by demonstrating a substantial probability that a crime was committed

and that a specific individual committed it. Id. (citations omitted) In a malicious




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prosecution claim against law enforcement officers, federal courts may disregard

any allegedly tainted evidence to determine whether or not there was still probable

cause for the arrest. Id. Here, there unquestionably was probable cause for an

arrest apart from plaintiff’s allegations concerning the Clonazepam tablet.

       Mr. Vigil was at a secure medical facility possessing a controlled substance,

Hydrocodone. He was initially equivocal in explaining its presence. He also

improperly held other expired patient medications and patient funds. Although Mr.

Vigil successfully defended the charges, his acquittal does not vitiate probable cause

for the original arrest. Specifically, the proffered exculpatory evidence of the old

prescriptions is not dispositive on the issue of probable cause for the possession

charge as the defense depended on the jury’s determining whether his explanation

was credible at trial.

       Thus, the plaintiff’s allegations in the Second Amended Complaint fail to

rebut the existence of probable cause based on the totality of the evidence before the

law enforcement officers and the District Court Judge. Therefore, these allegations

are insufficient to state a Fourth Amended claim for an unreasonable search or

malicious prosecution under clearly established law.

       For all these reasons, the individual State defendants Tweed, Chavez, Coca

and Dominguez are entitled to qualified immunity under both prongs of the

analysis.




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7. Issue Preclusion Also Bars Plaintiff’s Claims

       Defendants also join in the County Defendants’ Motion to Dismiss [Doc 49]

based on the doctrine of issue preclusion as applied to the District Court’s order

binding over Vigil for trial. [Exh. 4] The state defendants will not repeat the

entirety of that argument for the sake of brevity but do want to draw the Court’s

attention to several key points.

       As the County Defendants observe, Judge Browning encountered a similar

factual situation in Ysasi v. Brown, 3 F. Supp. 3d 1088 (D.N.M. 2014). In that case,

the defendants argued that collateral estoppel applied to a state magistrate’s

determination of probable cause; the prosecution later issued a nolle prosequi on the

charges. Judge Browning expressed significant reservations about applying issue

preclusion to a New Mexico Magistrate Judge’s probable cause determination

because magistrate judges are not usually lawyers in New Mexico. Yet, Judge

Browning determined that he was compelled to apply issue preclusion because the

Tenth Circuit had previously applied collateral estoppel in a virtually identical case,

Angel v. Torrance County Sheriffs Dept., 183 Fed.Appx. 707 (10th Cir. 2006).

SeeYsasi, 3 F.Supp. at 1165 (stating “The Court will thus grant the MSJ on the

unlawful arrest claim, because the Tenth Circuit’s determination indicates that it

would apply collateral estoppel in this situation”).

       This case, of course, does not involve a determination by a magistrate judge,

but instead a full-fledged District Court Judge, alleviating the principal source of

Judge Browning’s concerns. The case also does not involve a nolle prosequi. The




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criminal charge proceeded to trial; Vigil obtained an acquittal based on resolution of

factual and credibility issues in his favor. Accordingly, the Tenth Circuit’s precedent

from Angel v. Torrance County applies with even greater force.

       Further, Judge Browning also noted in Ysasi that, regardless of issue

preclusion, the New Mexico Supreme Court treats a magistrate’s finding of probable

cause as prima facie evidence that probable cause did in fact exist for the arrest.

Ysasi, 3 F.Supp. at 1165. The same could be said here. As set forth earlier, Vigil’s

alleged facts do not rise to the level of vitiating probable cause because the

allegations do not address, let alone dispense with the entirety of the evidence

supporting criminal charges.

       In sum, for the reasons in the County’s brief and Judge Browning’s opinion in

Ysasi, this Court is bound to honor the Tenth Circuit precedent to bar relitigation of

the probable cause issue. Because probable cause existed for the arrest and because

plaintiff’s allegations do not fully address or rebut the evidence supporting probable

cause, a malicious prosecution claim may not proceed.

8. The State Law Claims Are Futile

       Vigil appears to assert two counts3 for violations of the New Mexico

Constitution based on an unreasonable search and malicious prosecution. [Doc 38 at

¶¶66-97; 108-118] Such claims are futile. “New Mexico courts have ‘consistently

declined to permit individuals to bring private lawsuits to enforce rights guaranteed



3The Second Amended Complaint does not contain a Count IV; instead the complaint jumps from
Count III to V. Defendants presume from references to state law that Vigil intended to plead a
Count for malicious prosecution based on the New Mexico Constitution.


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by the New Mexico Constitution, based on the absence of an express waiver of

immunity under the Tort Claims Act.’” Roybal-Mack v. New Mexico Department of

Public Safety, 2017 U.S. Dist. LEXIS 107038 at ¶13-14, (citing Barreras v. State of

New Mexico Corrections Department, 2003-NMCA-027). Thus, Vigil’s claims for

civil damages based on State Constitutional violations fail to state a claim under

Fed.R.Civ.P. 12(b)(6).

9. The Court Should Dismiss Defendant NMBHI

       In Paragraph 142 of the plaintiff’s Second Amended Complaint, plaintiff Vigil

asserts a legal conclusion that the NMBHI is liable under the doctrine of respondeat

superior for a violation of the New Mexico Tort Claims Act (NMTCA) perpetrated by

any state employee. [Doc 38 at 25] The complaint contains no further allegations

against the NMBHI.

       In Silva v. State, 1987-NMSC-107, the New Mexico Supreme Court held that

a governmental entity may be susceptible to suit under the New Mexico Tort Claims

Act for respondeat superior. To name a particular entity under the NMTCA

requires two things: (1) a negligent public employee who meets one of the waiver

exceptions under Sections 41-4-5 to 41-4-12 of the NMTCA; and (2) an entity that

has immediate supervisory responsibilities over the employee. Silva at *15 [citation

omitted]. If a public employee meets an exception to immunity, then the particular

entity that supervises the employee can be named as a defendant in an action under

the NMTCA. Id. See also Lyman v. Aeromark Corp., 499 Fed.Appx. 771, 774 (10th

Cir. 2012); Segura v. Collonde, 895 F.Supp.2d 1141, 1149-1150 (D.N.M. 2012) (J.




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Vasquez); Hernandez v. City of Albuquerque, 2017 U.S. Dist. LEXIS 99144; Malone

v. the Board of County Commissioners for the County of Dona Ana, 2016 U.S. Dist.

LEXIS 129236.

       To support his respondeat superior claim, Vigil asserts a bare legal

conclusion that the individual state employee defendants were operating a medical

facility “negligently”, invoking the waiver of immunity under NMSA 1978 §41-4-9.

[Doc 38 at 17, ¶ 94] However, this legal conclusion does not suffice to support a

legally cognizable claim against the NMBHI. As was the case with Vigil’s First

Amended Complaint [see Doc 30 at 27-28], the Second Amended Complaint does not

assert any plausible factual allegations of negligence. It does not include a count for

negligence generally, let alone factual allegations of negligence that fall within one

of the enumerated waivers of immunity under the Act. [Id.]

       Moreover, the medical facilities waiver that Vigil cites in his complaint states

as follows:

       The immunity granted pursuant to Subsection A of Section 41-4-4
       NMSA 1978 does not apply to liability for damages resulting from
       bodily injury, wrongful death or property damage caused by the
       negligence of public employees while acting within the scope of their
       duties in the operation of any hospital, infirmary, mental institution,
       clinic, dispensary, medical care home or like facilities.

§41-4-9. The waiver plainly applies to the provision of medical services by

employees at medical facilities and must involve claims for “bodily injury,

wrongful death or property damage.” Id. Statutory provisions purporting to




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waive governmental immunity are strictly construed. Kreutzer v. Aldo

Leopold High Sch., 2018-NMCA-005 at *45 [citation omitted].

       The subject matter of Vigil’s claims does not fall within § 41-4-9 as a

matter of law. Vigil did not receive medical services from the defendants; the

gravamen of the complaint concerns employment issues, not medical services.

Vigil does not claim “bodily injury, wrongful death or property damage” to

partake of the waiver. See § 41-4-9. Thus, not only does the complaint fail to

contain factual allegations of plausible negligence, Vigil has failed to identify

a viable waiver of immunity.

       The only state law claims against the state employee defendants are for

alleged violations of the New Mexico Constitution. However, such claims do not

sound in negligence. Vigil cannot rely on alleged civil rights violations to trigger a

waiver of immunity under the NMTCA for negligence. Cf. Roybal-Mack v. New

Mexico Department of Public Safety, 2017 U.S. Dist. LEXIS 107038 at ¶13 -14.

       This leaves Vigil’s three Federal Section 1983 claims based on unreasonable

search, malicious prosecution or First Amendment retaliation. Section 1983 only

permits such actions against individuals, not state entities. The NMTCA does not

waive immunity for damages arising for Federal civil rights violations except in one

instance, which is the waiver of immunity applicable to law enforcement officers

who negligently cause one of the torts or statutory violations enumerated in §41-4-

12.




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       Although Vigil claims that the County law enforcement officers fall within

§41-4-12, he does not claim that any of the NMBHI employee defendants do.

[Compare Doc 38 at ¶93 with ¶94] The Second Amended Complaint also does not

set forth allegations that plausibly support a conclusion that the four were acting as

law enforcement officers. Nor is the operation of the State psychiatric hospital

consistent with the duties of a law enforcement officer. Accordingly, the counts

asserting Section 1983 claims against the NMBHI do not provide a basis for

respondeat superior liability under the NMTCA based on the allegations of the

Second Amended Complaint.

       Lacking an applicable tort claims waiver, the claim against the NMBHI fails

as a matter of law. Segura v. Collonde, 895 F.Supp.2d 1141, 1149-1150 (D.N.M.

2012). The statute of limitation has also lapsed. See supra at 9-11. The Court should

also dismiss this claim with prejudice.

10. Defendants Remain Entitled to Qualified Immunity on the First Amendment
   Count

       This Court originally granted the defendants qualified immunity on

plaintiff’s First Amendment claim because the plaintiff failed to cite clearly

established law demonstrating that the “cursory allegations in the FAC are subject

to defeat Defendants’ assertion of qualified immunity.” [Doc 30 at 21] The Court

held that the description of the speech in the First Amended Complaint was not

sufficient to enable the Court to determine to what extent the plaintiff was

complaining about his own employment conditions and to what extent plaintiff was




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speaking for others who cannot speak for themselves due to neglect and

mismanagement at a public institution. [Id.]

       The allegations of the Second Amended Complaint fare no better. Vigil’s

“amendments” in Count V of the Second Amended Complaint consist of little more

than rearranging the paragraphs in Count V of the First Amended Complaint. The

substance is substantially the same.

       Although Vigil’s complaint frames the count as a “chilling” claim [Doc 38 at

¶136], a different test applies to the employment context. To establish First

Amendment retaliation by his employer, an employee must allege and ultimately

prove: (1) whether the speech was made pursuant to an employee's official duties;

(2) whether the speech was on a matter of public concern; (3) whether the

government's interests, as employer, in promoting the efficiency of the public

service are sufficient to outweigh the plaintiff's free speech interests; (4) whether

the protected speech was a motivating factor in the adverse employment action; and

(5) whether the defendant would have reached the same employment decision in the

absence of the protected conduct. Dixon v. Kirkpatrick, 553 F.3d 1294, 1302 (10th

Cir. 2009) The first three "prongs" are issues of law to be decided by the court; the

last two are factual issues to be decided by the factfinder. Id.

       The second element is the requirement that the claim be based on employee

speech that is "on a matter of public concern." Id. "[P]ublic concern is something

that is a subject of legitimate news interest; that is, a subject of general interest and

of value and concern to the public at the time of publication." City of San Diego v.




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Roe, 543 U.S. 77, 83-84, 125 S. Ct. 521, 160 L. Ed. 2d 410 (2004). The public concern

requirement limits the protection of speech by an employee to speech that the

employee makes in his capacity as a citizen, rather than simply as an employee. See

Garcetti v. Ceballos, 547 U.S. 410, 418 (2006) (employee is protected against

retaliation only if "the employee spoke as a citizen on a matter of public concern").

Moreover, the Supreme Court has decided that the public concern requirement also

applies when a government employee complains of retaliation based on his exercise

of the First Amendment right to petition the government for redress of grievances.

See Borough of Duryea v. Guarnieri, 131 S. Ct. 2488, 2495, 180 L. Ed. 2d 408

(2011).

       Here, the only description of speech appears in two paragraphs. First, in

Paragraph 43, the plaintiff alleges that he supported his partner, Patricia Vigil, in

her lawsuit. Yet, the Court previously recognized that such allegations, analogous

to a Freedom of Association claim, are not sufficient to state a claim for First

Amendment retaliation. [Doc 30 at 22-25]

       The second allegation of speech is in Paragraph 47, which indicates that at

some point the plaintiff had spoken out over mismanagement at NMBHI including

employee misbehavior and misclassification of patient residents. This allegedly led

to the patients being assigned to plaintiff’s unit. [Id. at ¶48] This is substantially

the same allegation from the First Amended Complaint. [Doc 1-1 at ¶48-49] Thus,

the Second Amended Complaint has the very same deficiency that the Court

previously identified as warranting qualified immunity. [Doc 30 at 21]




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   Moreover, the complaint also lacks the other necessary facts to show a plausible

First Amendment violation: the dates the protected speech occurred, the actual

substance of the communications, the audience for plaintiff’s speech, how any of the

defendants were aware of the plaintiff’s speech, when they became aware of it and

so forth. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, are insufficient to state a claim. Iqbal, 556 U.S. at 678.

11. Conclusion

       For all these reasons, plaintiff’s Second Amended Complaint against the

State Defendants should be dismissed with prejudice.


                                        Respectfully submitted,

                                        LONG, KOMER & ASSOCIATES, P.A.

                                        Attorneys for Defendants Tweed,
                                        Dominguez, Coca, Chavez and New Mexico
                                        Behavioral Health Institute


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 6th day of December 2019, I filed the
foregoing Motion for Judgment on the Pleadings electronically through the CM/ECF
system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

       Joe M. Romero, Jr.
       joe@romeroandwinder.com
       Attorneys for Plaintiffs


       Christina L.G. Brennan
       James P. Sullivan
       christina@brennsull.com
       jamie@brennsull.com
       Attorneys for County Defendants



                                       By:    s/ Mark E. Komer
                                              Mark E. Komer




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Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   000027
                                      Exhibit 1
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   000028
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   000021
                                      Exhibit 2
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   000022
                                                                                                    FILED IN
                                  STATE OF NEW MEXICO                                    SAN MIGU(:l. \/.\7, ;-::;~,-r: ".:OURT
 In the Magistrate Court
 San Miguel County                                                                              JUL         8 2015
 State ofNew Mexico                                                    CASE# I 5-12389
 Plaintiff,                                                                              By~                             Clerk

            VS.

 Name: John Paul Vigil
 Dob: 12/08/1963
 SSN: XXX-XX-XXXX
 Add: 512 Lugar De Los Caballeros, Las Vegas, New Mexico 87701
 Defendant,

                                  AFFIDAVIT FOR ARREST

        The undersigned, being duly sworn, on his oath, states that he has reason to believe that
 on or about the 261h day of June 2015, in the County of San Miguel, State of New Mexico, the
 above-named defendant did commit the crimes of: Possession of a Controlled Substance
 (felony), Possession of a,. Controlled Substance (misdemeanor - possession of a controlled
 substance NOT lis.ted in 30-31-23(E) as felony possession)

 On June 5 111 , 2015 at approximately 10:00 a.m., Deputy Sean Armijo was dispatched to 3695 Hot
 Springs Blvd. (New Mexico Behavioral Health Institute) in reference to possible larceny of
 narcotics. Upon my arrival on scene Deputy Armijo made contact with Security Supervisor, Joe
 Chavez, who advised him Frances Tweed had received an anonymous letter stating an NMBHI
 employee was stealing medication and money from patients currently being treated at NMBHI.
 Ms. Tweed is the executive nurse administrator for NMBHI. Ms. Tweed provided Deputy
 Armijo with a copy of the anonymous letter. The letter alleged that Psych Tech Supervisor, John
 Vigil, had money and prescription narcotics belonging to various patients at NMBHI, locked
 inside of his desk.

 On June 5th, 2015 Myself and Deputy Sean Armijo executed a search warrant on J. Vigil's desk
 and surrounding work area. During the course of the warrant, Ativan, a scheduled narcotic was
 located and seized, along with a substantial amount of money possibly belonging to NMBHI
 patients. Other medication belonging to NMBHI patients that are not scheduled narcotics, were
 also located during the course of the warrant. Ativan, another form of Lorazepam is listed as a
 Schedule VI in the controlled substances act.

 On June 19 1\ 2015 at approximately 11:00 a.m., I was advised by Ms. Frances Tweed that a
 secondary anonymous letter had come in with more allegations against J. Vigil. The anonymous
 letter stated J. Vigil had two other lockers in different areas ofNMBHI, and J. Vigil had
 narcotics in those lockers. Myself and Ms. Tweed proceeded to El Paso Cottage where J. Vigil's
 locker was located. Mr. Vigil's locker was blue in color and labeled with his name on it.
 I was later advised by Ms. Frances Tweed; security had cut the lock to his locker and had
 conducted a search on it. Ms. Tweed advised me that approximately eleven (9) Hydrocodone




Vigil v. Tweed, et al.              Plainitiff's Initial Rule 26 Disclosures                                    000002
                                                 Exhibit 3
  pills were located in a "Centrum" vitamin bottle and two (2) more Hydrocodone were located
  inside of J. Vigil's locker. Ms. Tweed stated she had researched the pill's descriptors and found
  it to be Hydrocodone. On June 26th, 2015 myself and Investigator/Deputy Antoine Whitfield
  executed a search warrant signed by 4th Judicial District Judge Gerald Baca on J. Vigil's work
  locker. During the course of the search, eleven (11) Hydrocodone pills were located inside of a
  Centrum Multi-Vitamin container. The pills were seized for evidence purposes. Upon
  information and belief, Hydrocodone is listed as a Schedule II narcotic in controlled substances
  act.

  Upon information from NMBHI Director Troy Jones, Mr. Vigil has authority to assist in the
  distribution of medication to patients; however he does not have authority to possess the drugs
  under any circumstances.


          Affiant, Undersheriff Anthony L. Madrid is a full time salaried Undersheriff employed by
  the San Miguel County Sheriffs Office for approximately 8 months. The undersigned further
  states the following facts on oath to establish probable cause to believe that the above-named
  defendant committed the crimes charged:


  Anthony L. Madrid      ~~                                                         7/8/15
  San Miguel County Sheriffs Office                                                    Date
  Affiant




                                                            ott          ·
            Subscribed and sworn to me before this          D-       day of_--:A-"'<-0=~'--+-----' 2015.



                                                               -~~~A~·~O-                                   G
                                                                                 Approved~
                                                                                   District Attorney's Office




Vigil v. Tweed, et al.                Plainitiff's Initial Rule 26 Disclosures                             000003
          State vs. John Paul Vigil
          D-412-CR-2015-00208
          Jury Trial 11/14/2017


 1        DA: Well, what did he tell you?

 2        Witness 5: Well he told me that um…um…mostly his lockers just contained uh…some

 3        food, some clothes, some personal medication. Um…he said the medications that we

 4        found were his except for Hydrocodone which was not his. Um…he said regarding

 5        the…that was the blue locker. Regarding the little smaller, yellow lockers, he said he’d

 6        never given anyone keys to those lockers and he kept the locks…keys for the lockers on

 7        his keyring. Um…regarding client medication that was reportedly found in those lockers,

 8        uh…he just told me he didn’t put that there.

 9        DA: Okay. So…so…just so we’re clear, he…he denied ownership of the Hydrocodone?

10        Witness 5: Yes.

11        DA: Uh…did he say he had a prescription?

12        Witness 5: No.

13        DA: Did he ever provide you with a prescription?

14        Witness 5: No.

15        DA: Okay. Pass the witness.

16        Attorney 1: Mr. Schaffer, let me direct your attention to the second interview first, if you

17        don’t mind.

18        Witness 5: Sure. No problem.

19        Attorney 1: I have it as June 25th. Is that your recollection?

20        Witness 5: That’s my recollection, sir.

21        Attorney 1: What are you referring to right now?

22        Witness 5: Um…a copy of the investigative report which has interview transcriptions.



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     Vigil v. Tweed, et al.                Plainitiff's Initial Rule 26 Disclosures                  000202
                                                        Exhibit 4
          State vs. John Paul Vigil
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          Jury Trial 11/14/2017


 1        Attorney 1: Okay. Do you recognize…

 2        Defendant: I don’t know what you’re talking about.

 3        Attorney 1: Do you recognize it as your prescription records?

 4        Defendant: Oh, this is exhibit A?

 5        Attorney 1: Yeah.

 6        Defendant: Oh, yes…yes.

 7        Attorney 1: Alright, and uh…uh…was there a period in time between 2007and 2011

 8        when you were receiving prescriptions from your physicians for Hydrocodone?

 9        Defendant: I’m sorry?

10        Attorney 1: Alright. Was there a period of time, between ’07…

11        Defendant: Oh, yes, there was.

12        Attorney 1: …and 2011when you were receiving Hydrocodone prescriptions from you

13        physicians?

14        Defendant: Yes, there…there was a time that I was doing…yes.

15        Attorney 1: Okay. Do you know what Hydrocodone is?

16        Defendant: Now I do.

17        Attorney 1: Okay. Did you know what it was back then?

18        Defendant: No.

19        Attorney 1: Okay, did you know it was a pain killer?

20        Defendant: Yes I did know it was a pain killer. The doctor tells you ‘I’m going to give

21        you something for pain.’ Okay.

22        Attorney 1: Did you know it was a narcotic?



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     Vigil v. Tweed, et al.                Plainitiff's Initial Rule 26 Disclosures                 000153
          State vs. John Paul Vigil
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 1        Defendant: Um…6/24/2015.

 2        DA: And that’s the statement we’re talking about when you gave the interview to Mr.

 3        Schaffer?

 4        Defendant: Right.

 5        DA: Will you please read the high…underlined portion?

 6        Defendant: Okay, before I go any further and read the underlined portion, when I was in

 7        the interview with…

 8        DA: You’re Honor…

 9        Defendant: Mr. Schaffer, he…

10        Judge: Mr. Vigil, will you answer the question?

11        Defendant: Okay, it says uh the medication found were mine except the Hydrocodone.

12        DA: And from your exhibit, (Inaudible 10:12:14), from the testimony, your…your

13        exhibit…defense exhibit A, you’ll agree with me that the most recent prescription for

14        Hydrocodone was August 28, 2011?

15        Defendant: Yes.

16        DA: And before that was May 9th, 2011?

17        Defendant: Yes.

18        DA: And then before that was uh…August 2011…excuse me, January of 2011?

19        Defendant: Right.

20        DA: And then October 2010.

21        Defendant: Yes

22        DA: February 2010.



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     Vigil v. Tweed, et al.              Plainitiff's Initial Rule 26 Disclosures                 000175
          State vs. John Paul Vigil
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 1        Defendant: Yes.

 2        DA: And April 2007.

 3        Defendant: Okay.

 4        DA: So you were prescribed Hydrocodone six different occasions according to your

 5        exhibit, correct?

 6        Defendant: Back in that year, yes.

 7        DA: And so that would have made the most recent prescription approximately four years

 8        old, correct?

 9        Defendant: Correct.

10        DA: And then the oldest one would have been, at the time, approximately eight years old.

11        Okay and you are aware that prescriptions do have expiration dates?

12        Defendant: Yes I am.

13        DA: Okay. And um…when you were uh…providing your direct testimony, you

14        identified the other substances that were in this Centrum bottle? That you were pretty

15        specific, correct? You knew what each one was, right?

16        Defendant: Uh…it’s kind of been a long time but like I…I was able to…to figure out

17        which ones they were, yes.

18        DA: Okay, and ca…Hydrocodone were also in that same bottle.

19        Defendant: According to them, yes. Cause I don’t even see the Centrum bottle here.

20        DA: No further questions.

21        Judge: Any redirects, Mr. Kennedy?




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          State vs. John Paul Vigil
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 1        which is something you kind of uh…order through the mail to see if it helps you relieve

 2        Gout. It contains uh…tur…uh…turmeric uh…milk thistle, uh… devil’s claw, grape seed

 3        extract, tart cherries. Stuff like that is used to…

 4        Attorney 1: Okay.

 5        Defendant: …control Gout simsons…symptoms, if you kind of look at it in uh…herbalist

 6        kind of way.

 7        Attorney 1: Alright. Not a…not a…

 8        Defendant: (Inaudible 9:51:20) suffer unless you try to…you’re grasping at everything to

 9        see if it helps you…

10        Attorney 1: Not a prescription?

11        Defendant: (Nothing does 9:51:24)

12        Attorney 1: Not a prescription?

13        Defendant: (Nothing does 9:51:25)

14        Attorney 1: Not a prescription medication?

15        Defendant: I’m sorry?

16        Attorney 1: Not a prescription medication?

17        Defendant: No…no…no…not a prescription medication.

18        Attorney 1: Now, uh…how did all those medications, along with the Hydrocodone, get in

19        that Centrum bottle?

20        Defendant: Well, the…the…you know, I…it’s hard to carry all this medications in

21        containers so I…this is what I always do. I’ve done this all my life. I have one container

22        like this Centrum bottle. I still do it, you know. I…I go to Albuquerque; I visit my son



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 1        over there. I mean, we stay there for two/three days. I through in two, three, four pills of

 2        this; two, three, four pill of uh…Indomethacin. Two, three, four of Colchicine, uh…and I

 3        take them uh…I take uh…three, four pills of (Hydro Cloracline 9:52:04, Hydroxyzine

 4        9:2:06, Hydrochloride 9:52:07). Uh…what else do I take? I’m mean, the list uh…

 5        Attorney 1: So you throw those together in a…in a Centrum bottle?

 6        Defendant: Well, I take them all together in a Centrum bottle so I’m not carrying

 7        ten…ten uh…prescribed bottles with me. You know, I need a case.

 8        Attorney 1: Alright.

 9        Defendant: Or then, I don’t want nothing, you know…or, I don’t want to lose the whole

10        bottle because if I lose the whole bottle, I can’t go to the doctor and tell the doctor…I

11        mean, I can’t go to the pharmacist at Walgreens and tell Walgreens or Plaza drugs, ‘you

12        know what, I lost my medication. I need for you to give me something for my…for my

13        arthritis’. They’re going to say, ‘Well the insurance don’t cover it. Colcrys … Colcrys I

14        think is worth like six hundred dollars for a bottle of maybe 30 pills. It’s about six

15        hundred dollars.

16        Attorney 1: Okay.

17        Defendant: They won’t even prescribe…they won’t give it to me because they

18        prescription…

19        Attorney 1: How…

20        Defendant: …is already administered.

21        Attorney 1: How did that Centrum bottle uh…that…that we see that picture there,

22        uh…end up in your locker?



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 1        Defendant: I probably...uh…what I’m thinking is that um… I probably came from

 2        vacation. I probably put it there and um…like I didn’t take my medication. Like I have

 3        other medications, I just left them there.

 4        Attorney 1: Alright.

 5        Defendant: That locker, I never get into that locker. I never use the locker again. I just

 6        locked it and pretty much used just the locker that was inside my office.

 7        Attorney 1: Alright. Uh…is there any doubt in your mind that those Hydrocodone’s you

 8        got pursuant to the prescriptions that we’ve found here in court?

 9        Defendant: Did…I’m sorry, again? Uh…huh…Is there any doubt that they’re mine?

10        Attorney 1: Yeah.

11        Defendant: No, there’s no doubt that they’re mine. I have prescriptions for them.

12        Attorney 1: Alright. How come you didn’t take them all?

13        Defendant: Cause I know they mess up your liver.

14        Attorney 1: Okay.

15        Defendant: And I wasn’t in pain anymore really, so I was under contr…uh…I…I had

16        already uh…gone through my operation. My nose was okay. Uh…

17        Attorney 1: So, if…if you were….

18        Defendant: My shingles were over with. I was feeling okay. I…there was no need to… I

19        don’t take the medications. They were there…

20        Attorney 1: So when you were no longer in pain, you stopped taking the Hydrocodone?

21        Defendant: I stopped taking the Hydrocodone, yes.




                                                             35
     Vigil v. Tweed, et al.                Plainitiff's Initial Rule 26 Disclosures                    000160
                     Case 1:18-cv-00829-SCY-JFR Document 49-1 Filed 12/02/19 Page 1 of 1


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John Vigil, Defendant

                                                 ORDER ON PRELIMINARY EXAMINATION                                         -:D    1-JI   a e.R~ D/~ -aot
On October 21, 2015,
Per the criminal complaint, the following charge(s) appeared before the court for preliminary examination:
1    Possession of a Controlled Substance (Felony - Narrotic 4th Degree        30-31-23(E)
       ~~                                                                             To~
2      Possession of a Controlled Substance (Misdemeanor)                             Misdemeanor                30-31-23(A)
3      Dangerous Drugs, Conditions for Sale                                           4th Degree                 26-1-16
                                                                                      Felony
A preliminary examination was held on the offense( s) listed above. The state appeared through Jarnes W. Grayson. The
defendant appeared in person and through counsel, Paul John Kennedy.
(check all that apply)1
[ ]        It is hereby ORDERED that the defendant is BOUND OVER FOR TRIAL in the district court as to the following
count(s): 1-3

[]       As to the following count(s), the court FINDS there is no probable cause to believe that the charged offense was
committed and that the defendant committed the offense. It is hereby ORDERED that the defendant is DISCHARGED as
to the following count(s):

2


IT IS SO ORDERED.

Dated:     II?Id 1Ju
             r 7                                                          USE NOTES
                                                                                                                                                          Judge

      1.     Every count listed in the comp laint must be accounted for in this bind-over order.
      2.     If the court finds probable cause for any felony offense, all misdemeanor charges in the complaint must be included in this bind-over order.
      3.     Attach copy of Complaint, any Warrants issued, Appearance Bond or Bail Bond, and Order Specifying Conditions of Release.
             [Asamended by Supreme Cour t Order No. 14-8300-020, effective for nil cases pending or filed on or after December 31, 2014.]




PIUtlbut
      lop           1 copy• Court    1 copy • Defendant     1 copy - Prosecutor        Criminal Forms ~60 8, 9-207


Cogrtlpforpytlpg;                                                                                                                             EXHIBIT

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Sau Miguel County Magistnlc Court in Las Vegas 312 Bibb Drive

Las Vcgao NM 87701     phone 505-425-5204   (fax) 505-425-0422   web siic: www,nmco urts.com



                                                                                  Exhibit 5
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   001109
                                      Exhibit 6
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   001110
Vigil v. Tweed, et al.   Plainitiff's Initial Rule 26 Disclosures   001111
